Case 6:24-cv-00306-JCB   Document 99-1 Filed 10/25/24   Page 1 of 6 PageID #:
                                   2772




                         Exhibit A
Case 6:24-cv-00306-JCB            Document 99-1 Filed 10/25/24              Page 2 of 6 PageID #:
                                            2773



                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                                TYLER DIVISION

  State of Texas, et al.,

          Plaintiffs,
                                                              CASE NO. 6:24-CV-306-JCB
  v.

  United States Department of
  Homeland Security, et al.,

          Defendants.


CORRECTED PLAINTIFF STATE OF TEXAS’ RESPONSES AND OBJECTIONS TO
             DEFENDANTS’ FIRST REQUESTS FOR DISCOVERY
       Pursuant to Rules 33, 34, and 36 of the Federal Rules of Civil Procedure, Plaintiff State of

Texas hereby corrects several of its responses to Requests for Admission in Defendants’ First Set

of Interrogatories, First Set of Requests for Production, and First Set of Requests for Admission

(“First Set of Requests for Discovery”). In formulating these responses, Texas relied on the

documents and information available at this time. To the extent further documents become

available or further information becomes known to Texas, it will supplement or amend its

production and responses as required under Rule 26.

                 OBJECTIONS TO DEFINITIONS AND INSTRUCTIONS

       Texas objects to Defendants’ definition of the term “You” as “The State of Texas,

including all its agencies, subdivisions, and officers acting in official capacity.” Definition No. 11.

       “A party to a cause of action is a person who is both named as a party and subject to the

court’s jurisdiction.” Nagle v. Lee, 807 F.2d 435, 440 (5th Cir. 1987). Texas’s executive

department is not like the federal executive branch—a complete unit with “one man” wielding the

entire executive power to whom all “lesser officers must” be accountable. Seila Law LLC v. CFPB,

140 S. Ct. 2183, 2197 (2020) (quotations omitted). “[U]nlike the federal constitution, the Texas

Constitution does not vest the executive power solely in one chief executive. Instead, the executive
                                                   1
Case 6:24-cv-00306-JCB           Document 99-1 Filed 10/25/24          Page 3 of 6 PageID #:
                                           2774



power is spread across several distinct elected offices.” In re Abbott, 645 S.W.3d 276, 280 (Tex.

2022). The design creates a “decentralize[d] executive authority.” State v. Brabson, 976 S.W.2d

182, 186 (Tex. Crim. App. 2012) (Womack, J., concurring).

      The Attorney General of Texas, who brought this suit on Texas’s behalf, does not have a

free-floating executive power to direct State agencies to take any action. Texas’s “Executive” is

non-unitary to the point where “neither the Governor nor the Attorney General has statutory

authority [even] to directly control” the actions of many non-elected departments. In re Abbott,

645 S.W.3d at 281.Under Texas law, the Attorney General represents “the state qua state and as
parens patriae.” Sierra Club v. City of San Antonio, 115 F.3d 311, 314 (5th Cir. 1997). Texas’s

discovery obligations are limited to information or documents in the possession or control of the

Attorney General of Texas.

      Additionally, the State of Texas has more than 320,000 full-time employees and thousands

more part-time employees spread across the general government, health and human services,

public education, higher education, the judiciary, public safety and criminal justice, natural

resources, business and economic development, regulatory and other state agencies, the

legislature, and the Office of the Attorney General. This extends even more broadly to political

subdivisions within the State.

      Notwithstanding this objection, the Texas Attorney General represents the responding

agencies for purposes of responding to these discovery requests and no responsive materials are

being withheld on the basis of this objection.
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                                                 2
Case 6:24-cv-00306-JCB          Document 99-1 Filed 10/25/24             Page 4 of 6 PageID #:
                                          2775



                               REQUESTS FOR ADMISSION

REQUEST FOR ADMISSION NO. 1: You are unable to quantify the cost to your State from
the current presence in your State of qualifying noncitizens.

       RESPONSE: Texas admits that it does not track information specifically related to
       this category of aliens and is therefore unable to provide specific numbers of costs
       related to them.

REQUEST FOR ADMISSION NO. 2: You are unable to assess the future cost to your State
from the continued presence of qualifying noncitizens paroled in place pursuant to the KFT parole
process.

       RESPONSE: Texas admits that it does not track information specifically related to
       this category of aliens and is therefore unable to provide specific numbers of costs
       related to them.

REQUEST FOR ADMISSION NO. 3: You are unable to compare the cost to your State from
the presence in your State of qualifying noncitizens to the future cost that qualifying noncitizens
paroled in place pursuant to the KFT parole process may cost your State.

       RESPONSE: Texas admits that it does not track information specifically related to
       these categories of aliens and is therefore unable to provide specific numbers of costs
       related to them.

REQUEST FOR ADMISSION NO. 4: You have no evidence that you will incur more costs
from qualifying noncitizens in your State if they are paroled in place under the KFT parole process
than you incurred from the same populations prior to the effective date.

       RESPONSE: Texas admits that it does not track information specifically related to
       these categories of aliens and is therefore unable to provide specific numbers of costs
       related to them.

REQUEST FOR ADMISSION NO. 5: You cannot quantify how much money your State would
save, if any, in the absence of the KFT parole processes.

       RESPONSE: Texas admits that it does not track information specifically related to
       this category of aliens and is therefore unable to provide specific numbers of costs
       related to them.

REQUEST FOR ADMISSION NO. 17: You cannot quantify the extent to which the Secretary
of Homeland Security, or DHS more generally, would seek to remove, and be able to affect the
removal of, any qualifying noncitizens absent the KFT parole process.



                                                3
Case 6:24-cv-00306-JCB          Document 99-1 Filed 10/25/24             Page 5 of 6 PageID #:
                                          2776



       RESPONSE: Texas objects to this Request as speculative because it depends on the
       independent future actions of third parties or even future governmental policies, as well as
       other independent, unknown factors. Subject to this objection, Texas admits that it is
       unable to predict the extent to which the Secretary or DHS would be able to effect
       removal of any of this category of aliens because Texas does not have knowledge of
       future resources and capabilities of the agency. Texas also admits that it is unable to
       predict what actions any particular Secretary of Homeland Security will take regarding
       removal of this category of aliens in the future.

REQUEST FOR ADMISSION NO. 18: The causes of return migration are difficult to assess,
and you have no way to estimate how many, if any, qualified noncitizens would voluntarily return
to their home countries if the KFT parole process were terminated.

       RESPONSE: Texas admits that many factors affect likelihood of return migration and
       that it cannot provide a numerical estimate as to how many aliens in this category would do
       so absent the KFT parole process, but at least some in that category would return to their
       home countries.


REQUEST FOR ADMISSION NO. 19: The causes of return migration are difficult to assess,
and you have no way to estimate how many, if any, qualified noncitizens would seek to obtain lawful
status through leaving the country and pursuing consular processing if the KFT parole process
were terminated.

       RESPONSE: Texas admits that many factors affect likelihood of return migration and
       that it cannot provide a numerical estimate as to how many aliens in this category would do
       so absent the KFT parole process, but at least some in that category would return to their
       home countries to pursue consular processing.

REQUEST FOR ADMISSION NO. 20: Social ties in the United States, including lengthy
duration of residence in the United States, marriage to a U.S. citizen, and having U.S. citizen
children or stepchildren, deter noncitizens in the United States from emigrating back to their
countries of origin.

       RESPONSE: Texas admits that many factors affect likelihood of return migration,
       including these social ties for certain aliens that have them, though older immigrants (and
       those who immigrated later in childhood) are more likely to return to their home countries
       and that at least some with these social ties would return to their home countries.




                                                4
Case 6:24-cv-00306-JCB          Document 99-1 Filed 10/25/24         Page 6 of 6 PageID #:
                                          2777



KEN PAXTON                                         GENE P. HAMILTON
Attorney General of Texas                          Virginia Bar No. 80434
                                                   JAMES ROGERS
BRENT WEBSTER
                                                   Arizona Bar no. 027287
First Assistant Attorney General
                                                   RYAN GIANNETTI
RALPH MOLINA                                       DC Bar no. 1613384
Deputy First Assistant Attorney General
                                                   America First Legal Foundation
AUSTIN KINGHORN                                    611 Pennsylvania Ave. SE #231
Deputy Attorney General for Legal Strategy         Washington, DC 20003
                                                   (202) 964-3721
/s/Ryan D. Walters                                 Gene.Hamilton@aﬂegal.org
RYAN D. WALTERS                                    James.Rogers@aﬂegal.org
Chief, Special Litigation Division                 Ryan.Giannetti@aﬂegal.org
Texas Bar No. 24105085                             COUNSEL FOR PLAINTIFF
Ryan.Walters@oag.texas.gov                         STATE OF TEXAS
KATHLEEN T. HUNKER
Special Counsel
Texas Bar No. 24118415
Kathleen.Hunker@oag.texas.gov

GARRETT GREENE
Special Counsel
Texas Bar No. 24096217
Garrett.Greene@oag.texas.gov

Oﬃce of the Attorney General of Texas
Special Litigation Division
P.O. Box 12548, Capitol Station
Austin, Texas 78711-2548
Telephone: 512-463-2100
Fax: 512-457-4410




                                     CERTIFICATE OF SERVICE
       I certify that on September 6, 2024, a true and accurate copy of the foregoing document
was served via email to all counsel of record.

                                                          /s/Ryan D. Walters
                                                          RYAN D. WALTERS


                                               5
